Case 1:23-cv-00595-JPH-KMB             Document 26-1       Filed 04/21/23     Page 1 of 45 PageID
                                             #: 143



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

 K.C., et al.,

                         Plaintiffs,

                 v.                                           No. 1:23-CV-595

 THE INDIVIDUAL MEMBERS OF THE
 MEDICAL LICENSING BOARD OF
 INDIANA, in their official capacities, et al.,

                         Defendants.



                      EXPERT DECLARATION OF DAN H. KARASIC, M.D.

 I, DAN H. KARASIC, M.D., hereby declare and state as follows:

         1.      I am over 18 years of age, of sound mind, and in all respects competent to testify.

         2.      I have been retained by counsel for Plaintiffs as an expert in connection with the

 above-captioned litigation.

         3.      I have actual knowledge of the matters stated herein. If called to testify in this

 matter, I would testify truthfully and based on my expert opinion.

         4.      In preparing this declaration, I reviewed Indiana Senate Bill 480 (hereafter, “the

 ban”). My opinions contained in this declaration are based on: my decades of clinical experience

 as a psychiatrist treating patients with gender dysphoria, including adolescents, and young adults;

 my knowledge of the peer-reviewed research, regarding the treatment of gender dysphoria, which

 reflects advancements in the field of transgender health; my knowledge of the clinical practice

 guidelines for the treatment of gender dysphoria, including my work as a contributing author of

 the eighth edition of the World Professional Association for Transgender Health (“WPATH”)
Case 1:23-cv-00595-JPH-KMB           Document 26-1        Filed 04/21/23         Page 2 of 45 PageID
                                           #: 144



 Standards of Care for the Health of Transgender and Gender Diverse People (SOC 8); and my

 review of any of the materials cited herein.

        5.      The materials I have relied upon in preparing this declaration are the same types of

 materials that experts in my field of study regularly rely upon when forming opinions on the

 subject. I may wish to supplement these opinions or the bases for them as a result of new scientific

 research or publications or in response to statements and issues that may arise in my area of

 expertise.

                                   SUMMARY OF OPINIONS

        6.      The ban prohibits medical treatments that are part of widely-accepted medical

 protocols for the treatment of adolescents with gender dysphoria. The following medical groups,

 among others, recognize that gender-affirming health care is safe and effective for adolescents:

 American Academy of Child and Adolescent Psychiatry, the American Academy of Pediatrics,

 the American Psychological Association, the American Psychiatric Association, and the

 American Medical Association, among many other mainstream medical organizations.

        7.      The accepted protocols for the treatment of adolescents with gender dysphoria

 provide for careful mental health assessments, including of co-occurring conditions; stringent

 criteria for eligibility for each treatment; and a thorough informed consent process with the

 adolescent and their parents, before any medical interventions are initiated.

        8.      Decades of medical research and clinical experience have demonstrated that the

 banned medical treatments are safe, effective, and medically necessary to relieve gender

 dysphoria for many adolescents.

        9.      I have seen first-hand, countless times over decades of practice, the many benefits

 of this treatment. Denying gender-affirming medical care to adolescents for whom it is medically


                                                  2

 EXPERT DECLARATION OF DR. DAN H. KARASIC, M.D.
Case 1:23-cv-00595-JPH-KMB            Document 26-1        Filed 04/21/23       Page 3 of 45 PageID
                                            #: 145



 indicated puts them at risk of significant harm to their health and well-being, including

 heightened risk of depression and suicidality.

         10.     For adolescents for whom gender-affirming medical care is indicated, no

 alternative treatments have been demonstrated to be effective.

         11.     When gender dysphoria persists until the beginning of puberty, it is rare for it to

 resolve on its own. The “watchful waiting” approach followed by some clinicians for pre-

 pubertal children does not apply to adolescents with gender dysphoria.


    I.         BACKGROUND AND QUALIFICATIONS

         12.     I am a Professor Emeritus of Psychiatry at the UCSF School of Medicine. I have

 been on faculty at the University of California – San Francisco since 1991. I have also had a

 telepsychiatry private practice since 2020.

         13.     I received my Doctor of Medicine (M.D.) degree from the Yale Medical School in

 1987. In 1991, I completed my residency in psychiatry at the University of California – Los

 Angeles Neuropsychiatric Institute, and from 1990 to 1991, I was a postdoctoral fellow at UCLA

 in a training program in mental health services for persons living with AIDS.

         14.     For over thirty years, I have worked with patients with gender dysphoria. I am a

 Distinguished Life Fellow of the American Psychiatric Association and the chair of the American

 Psychiatric Association Workgroup on Gender Dysphoria, as well as the sole author of the chapter

 on transgender care in the American Psychiatric Press’s Clinical Manual of Cultural Psychiatry,

 Second Edition.

         15.     Over the past 30 years, I have provided care for thousands of transgender patients.

 For 17 years, I was the psychiatrist for the Dimensions Clinic for transgender youth in San



                                                   3

 EXPERT DECLARATION OF DR. DAN H. KARASIC, M.D.
Case 1:23-cv-00595-JPH-KMB           Document 26-1        Filed 04/21/23     Page 4 of 45 PageID
                                           #: 146



 Francisco, and also have provided care for many adolescents in my UCSF faculty practice and my

 current private practice.

        16.     I previously sat on the Board of Directors of the World Professional Association

 for Transgender Health (WPATH) and am a co-author of the WPATH Standards of Care for the

 Health of Transsexual, Transgender, and Gender Nonconforming People, Version 8, which are

 the internationally accepted guidelines designed to promote the health and welfare of transgender,

 transsexual, and gender variant persons.

        17.     As a member of the WPATH Global Education Initiative, I helped develop a

 specialty certification program in transgender health and helped train over 2,000 health providers.

 At UCSF, I developed protocols and outcome measures for the Transgender Surgery Program at

 the UCSF Medical Center. I also served on the Medical Advisory Board for the UCSF Center of

 Excellence for Transgender Care, and co-wrote the mental health section of the original Guidelines

 for the Primary and Gender-Affirming Care of Transgender and Gender Nonbinary People and

 the revision in 2016.

        18.     I have also worked with the San Francisco Department of Public Health, having

 developed and implemented programs for the care of transgender patients and for mental health

 assessments for gender-affirming surgery. I served on the City and County of San Francisco

 Human Rights Commission’s LGBT Advisory Committee, and I have been an expert consultant

 for California state agencies and on multiple occasions for the United Nations Development

 Programme on international issues in transgender care.

        19.     I have held numerous clinical positions concurrent to my clinical professorship at

 UCSF. Among these, I served as an attending psychiatrist for San Francisco General Hospital’s

 consultation-liaison service for AIDS care, as an outpatient psychiatrist for HIV-AIDS patients at


                                                  4

 EXPERT DECLARATION OF DR. DAN H. KARASIC, M.D.
Case 1:23-cv-00595-JPH-KMB            Document 26-1        Filed 04/21/23      Page 5 of 45 PageID
                                            #: 147



 UCSF, as a psychiatrist for the Transgender Life Care Program and the Dimensions Clinic at

 Castro Mission Health Center, and the founder and co-lead of the UCSF Alliance Health Project’s

 Transgender Team. In these clinical roles, I specialized in the evaluation and treatment of

 transgender, gender dysphoric, and HIV-positive patients. I also regularly provide consultation on

 challenging cases to psychologists and other psychotherapists working with transgender and

 gender dysphoric patients. I have been a consultant in transgender care to the California

 Department of State Hospitals and the California Department of Corrections and Rehabilitation on

 the care of incarcerated transgender people.

        20.      In addition to this work, I have done research on the treatment of depression. I have

 authored many articles and book chapters, and edited the book Sexual and Gender Diagnoses of

 the Diagnostic and Statistical Manual (DSM): A Reevaluation.

        21.      In preparing this declaration, I have relied on my training and years of research and

 clinical experience, as set out in my curriculum vitae, and on the materials listed therein. A true

 and accurate copy of my curriculum vitae is attached hereto as Exhibit A. It documents my

 education, training, research, and years of experience in this field and includes a list of

 publications.

        22.      I have also reviewed the materials cited in the Bibliography, attached hereto as

 Exhibit B. These sources are authoritative, scientific peer-reviewed publications.

        23.      The materials I have relied upon in preparing this declaration are the same types of

 materials that experts in my field of study regularly rely upon when forming opinions on the

 subject. I reserve the right to revise and supplement the opinions expressed in this report or the

 bases for them if any new information becomes available in the future, including as a result of new




                                                   5

 EXPERT DECLARATION OF DR. DAN H. KARASIC, M.D.
Case 1:23-cv-00595-JPH-KMB             Document 26-1         Filed 04/21/23      Page 6 of 45 PageID
                                             #: 148



 scientific research or publications or in response to statements and issues that may arise in my area

 of expertise.

        Prior Testimony

        24.      In the last four years, I have testified as an expert by deposition in Kadel v. Folwell,

 19-cv-00272 (M.D.N.C.), Fain v. Crouch, 20-cv-00740 (S.D.W. Va.), C.P. v. Blue Cross Blue

 Shield of Illinois, No.20-cv-06145-RJB (W.D. Wash.), by deposition in Dekker et al., v. Weida, et

 al., No. 4:22-cv-325 (N.D. Fla), and by deposition and at trial in Dylan Brandt, et al., v. Leslie

 Rutledge, et al., No. 21-CV-450 (E.D. Ark.).

        Compensation

        25.      I am being compensated for my work on this matter at a rate of $400.00 per hour

 for preparation of declarations and expert reports. I will be compensated $3,200.00 per day for any

 deposition testimony or trial testimony. My compensation does not depend on the outcome of this

 litigation, the opinions I express, or the testimony I may provide.

 II.    EXPERT OPINIONS

        A.       Gender Identity

        26.      At birth, infants are assigned a sex, either male or female, based on the

 appearance of their external genitalia.

        27.      The ban defines sex as “the biological state of being male or female, based on the

 individual’s sex organs, chromosomes, and endogenous hormone profiles.” But the reality is that

 sex is complicated and multifactorial. Aside from external genital characteristics, chromosomes,

 and endogenous hormones, other factors related to sex include gonads, gender identity, and

 variations in brain structure and function. Because these factors may not always be in perfect




                                                    6

 EXPERT DECLARATION OF DR. DAN H. KARASIC, M.D.
Case 1:23-cv-00595-JPH-KMB            Document 26-1         Filed 04/21/23      Page 7 of 45 PageID
                                            #: 149



 alignment as typically male or typically female, “the terms biological sex and biological male or

 female are imprecise and should be avoided.” (Hembree, et al., 2017).

          28.   Gender identity is “a person’s deep felt, inherent sense of being a girl, woman, or

 female; a man, or male; a blend of male or female; [or another] gender.” (American Psychological

 Association, 2015, p. 862). Everyone has a gender identity. Gender identity does not always align

 with a person’s sex assigned at birth. Gender identity, which has biological bases, is not a product

 of external influence and not subject to voluntary change. As documented by multiple leading

 medical authorities, efforts to change a person’s gender identity are ineffective, can cause harm,

 and are unethical. (American Psychological Association, 2021; Byne, et al., 2018; Coleman, et al.,

 2012).

          29.   For most people, their sex assigned at birth, or assigned sex, matches that person’s

 gender identity. For transgender people, their assigned sex does not align with their gender identity.

 Based on data from the Williams Institute, approximately 0.6% of the United States population

 age 13 or older, or about 1.6 million people, identify as transgender. In Indiana, estimates are that

 around 4,100 people age 13-17 are transgender and approximately 25,800 adults age 18 or older

 are transgender. (Herman, et al., 2022).

          B.    Gender Dysphoria and Its Diagnostic Criteria

          30.   The term “gender dysphoria” is distress related to the incongruence between one’s

 gender identity and attributes related to one’s sex assigned at birth.

          31.   “Gender Dysphoria in Children” is a diagnosis applied only to pre-pubertal children

 in the Diagnostic and Statistical Manual Fifth Edition (DSM-5), released in 2013. The criteria are:

                A. A marked incongruence between one’s experienced/expressed gender and
                   assigned gender, of at least 6 months duration, as manifested by at least six of
                   the following (one of which must be Criterion A1):


                                                   7

 EXPERT DECLARATION OF DR. DAN H. KARASIC, M.D.
Case 1:23-cv-00595-JPH-KMB           Document 26-1        Filed 04/21/23      Page 8 of 45 PageID
                                           #: 150



                        1. A strong desire to be of the other gender or insistence that one is the
                           other gender (or some alternative gender different from one’s assigned
                           gender).

                        2. In boys (assigned gender), a strong preference for cross-dressing or
                           simulating female attire; or in girls (assigned gender), a strong
                           preference for wearing only typical masculine clothing and a strong
                           resistance to the wearing of typical feminine clothing.

                        3. A strong preference for cross-gender roles in make-believe play or
                           fantasy play.

                        4. A strong preference for the toys, games, or activities stereotypically
                           used or engaged in by the other gender.

                        5. A strong preference for playmates of the other gender.

                        6. In boys (assigned gender), a strong rejection of typically masculine
                           toys, games, and activities and a strong avoidance of rough-and-
                           tumble play; or in girls (assigned gender), a strong rejection of
                           typically feminine toys, games, and activities.

                        7. A strong dislike of one’s sexual anatomy.

                        8. A strong desire for the primary and/or secondary sex characteristics
                           that match one’s experienced gender.

                B. The condition is associated with clinically significant distress or impairment
                   in social circles, school, or other important areas of functioning.

        32.     The DSM-5 has a separate diagnosis of “Gender Dysphoria in Adolescents and

 Adults”. The criteria are:

                A. A marked incongruence between experienced/expressed gender and assigned
                   gender, of at least 6 months’ duration, as manifested by at least two of the
                   following:

                    1. A marked incongruence between one’s experienced/expressed gender and
                       primary or secondary sex characteristics (or in young adolescents, the
                       anticipated secondary sex characteristics).

                    2. A strong desire to be rid of one’s primary and/or secondary sex
                       characteristics because of a marked incongruence with one’s
                       experienced/expressed gender (or in young adolescents, a desire to prevent
                       the development of the anticipated secondary sex characteristics).


                                                  8

 EXPERT DECLARATION OF DR. DAN H. KARASIC, M.D.
Case 1:23-cv-00595-JPH-KMB            Document 26-1        Filed 04/21/23      Page 9 of 45 PageID
                                            #: 151



                    3. A strong desire for the primary and/or secondary sex characteristics of the
                       other gender.

                    4. A strong desire to be of the other gender (or some alternative gender
                       different from one’s assigned gender).

                    5. A strong desire to be treated as the other gender (or some alternative
                       gender different from one’s assigned gender).

                    6. A strong conviction that one has the typical feelings and reactions of the
                       other gender (or some alternative gender different from one’s assigned
                       gender).

                B. The condition is associated with clinically significant distress or impairment in
                   social, occupational, or other important areas of functioning.

        33.     Simply being transgender or gender nonconforming is not a medical condition to

 be treated. As the DSM-5 recognizes, diagnosis and treatment are “focus[ed] on dysphoria as the

 clinical problem, not identity per se.” (DSM-5, at 451). The DSM-5 unequivocally repudiated the

 outdated view that being transgender is a pathology by revising the diagnostic criteria (and

 name) of gender dysphoria to recognize the clinical distress as the focus of the treatment, not the

 patient’s transgender status.

        C.      Gender Dysphoria Treatment Protocols for Adolescents

        34.     The World Professional Association of Transgender Health (WPATH) has issued

 Standards of Care for the Health of Transsexual, Transgender, and Gender Nonconforming

 People (“WPATH SOC”) since 1979. The current version, published in 2022, is WPATH SOC 8.

 The SOC 8 provides guidelines for multidisciplinary care of transgender individuals, including

 children and adolescents, and describes criteria for medical interventions to treat gender dysphoria,

 including hormone treatment and surgery when medically indicated.

        35.     The SOC 8 is based upon a rigorous and methodological evidence-based approach

 to outline treatment recommendations. These recommendations are evidence-based, informed by

                                                  9

 EXPERT DECLARATION OF DR. DAN H. KARASIC, M.D.
Case 1:23-cv-00595-JPH-KMB           Document 26-1        Filed 04/21/23      Page 10 of 45 PageID
                                           #: 152



 a systematic review of evidence and an assessment of the benefits and harms of alternative care

 options, as well as expert consensus. The process for development of SOC 8 incorporated

 recommendations on clinical practice guideline development from the National Academies of

 Medicine and The World Health Organization. Its recommendations were graded using a modified

 GRADE (Grading of Recommendations, Assessment, Development, and Evaluations)

 methodology considering the available evidence supporting interventions, risks and harms, and

 feasibility and acceptability. The evidence base supporting the recommendations in the WPATH

 Standards of Care is comparable to the evidence base supporting treatment for other conditions.

        36.     The WPATH Standards of Care are widely accepted in the medical community and

 relied upon by clinicians treating patients with gender dysphoria.

        37.     A clinical practice guideline from the Endocrine Society (the Endocrine Society

 Guideline) provides similar protocols for the medically necessary treatment of gender dysphoria.

 (Hembree, et al, 2017).

        38.     In accordance with the WPATH SOC 8 and the Endocrine Society Guideline,

 medical interventions to treat gender dysphoria may include treatment with pubertal suppression,

 hormones, and surgery depending on the age and medical needs of each individual.

        39.     No medical or surgical treatment for gender dysphoria is provided to pre-pubertal

 children. For pre-pubertal children, interventions are directed at supporting the child with family,

 peers, and at school, as well as supportive individual psychotherapy for the child as needed.

        40.     Adolescents (which generally refers to minors after the onset of puberty) with

 gender dysphoria may be treated with medications to delay pubertal changes in the early stages of

 puberty if they are causing distress. Puberty blockers allow the adolescent time to better understand




                                                  10

 EXPERT DECLARATION OF DR. DAN H. KARASIC, M.D.
Case 1:23-cv-00595-JPH-KMB            Document 26-1        Filed 04/21/23     Page 11 of 45 PageID
                                            #: 153



 their gender identity, while delaying distress from the development of secondary sex

 characteristics such as breasts or facial hair.

         41.     Under the WPATH Standards of Care, puberty-delaying medication for transgender

 adolescents after the beginning of puberty and gender-affirming hormone therapy for older

 adolescents may be medically indicated if the following criteria are met: (a) Gender

 diversity/incongruence is marked and sustained over time; (b) Meets the diagnostic criteria of

 Gender Dysphoria; (c) Demonstrates the emotional and cognitive maturity required to provide

 informed consent/assent for the treatment; (d) Mental health concerns (if any) that may interfere

 with diagnostic clarity, capacity to consent, and gender-affirming medical treatments have been

 addressed; sufficiently so that gender-affirming medical treatment can be provided optimally; (e)

 Informed of the reproductive effects, including the potential loss of fertility and the available

 options to preserve fertility.

         42.     For minor patients, all treatment decisions are made in consultation with the patient

 and the patient’s parents or guardian. Consent for medical intervention is provided by the parent

 in the case of any minor receiving treatment.

         43.     After ongoing work with mental health professionals and when the adolescent has

 lived in accordance with their gender identity for a significant period of time, they may start

 treatment with hormones (testosterone for transgender boys, estrogen and testosterone

 suppressants for transgender girls) if and when medically indicated.

         44.     Affirming care for transgender youth does not mean steering them in any particular

 direction, but rather supporting them through their period of exploration of gender expression and

 increasing self-awareness of their identity. (Coleman, et al., 2012, at 18l; Ehrensaft, 2017).




                                                   11

 EXPERT DECLARATION OF DR. DAN H. KARASIC, M.D.
Case 1:23-cv-00595-JPH-KMB             Document 26-1       Filed 04/21/23      Page 12 of 45 PageID
                                             #: 154



        45.     The WPATH SOC 8 and the Endocrine Society Guideline further provide that

 before any medical or surgical interventions are provided to adolescents, a careful mental health

 assessment should be conducted to ascertain whether the diagnostic criteria for Gender Dysphoria

 in Adolescents and Adults are met, and the appropriateness of such care for the patient. The

 Endocrine Society Guideline states that only “[mental health professionals] who ha[ve]

 training/experience in child and adolescent gender development (as well as child and adolescent

 psychopathology) should make the diagnosis,” which usually includes “a complete

 psychodiagnostic assessment.” (Hembree, 2017). It further provides that because gender dysphoria

 “may be accompanied with psychological or psychiatric problems” it is necessary that clinicians

 involved in diagnosis and psychosocial assessment meet specific competency requirements and

 that they undertake or refer for appropriate psychological or psychiatric treatment. Id. And “in

 cases in which severe psychopathology” “interfere[s] with diagnostic work or make[s] satisfactory

 treatment unlikely, clinicians should assist the adolescent in managing these other issues.” Id.

        46.     As with all medical care, the care provided to transgender young people with gender

 dysphoria is tailored to the unique needs of each patient based on their individual experiences,

 proximity to specialists, and general health, as well as the clinical experience of practitioners.

        D.       Evidence of Efficacy of Medical Treatments

        47.     There is substantial evidence that puberty blockers and hormone therapy are

 effective treatments for adolescents with gender dysphoria. This evidence includes scientific

 studies assessing mental health outcomes for adolescents who are treated with these interventions,

 and decades of clinical experience.




                                                  12

 EXPERT DECLARATION OF DR. DAN H. KARASIC, M.D.
Case 1:23-cv-00595-JPH-KMB           Document 26-1         Filed 04/21/23      Page 13 of 45 PageID
                                           #: 155



         48.    Medical treatment for gender dysphoria has been studied for over half a century,

 and there is substantial evidence that it improves quality of life and measures of mental health.

 (Cornell, “What We Know” review).

         49.    The studies on gender-affirming medical care for adolescents with gender

 dysphoria are consistent with decades of clinical experience of mental health providers across the

 U.S. and around the world. At professional conferences and other settings in which I interact with

 colleagues, clinicians report that gender-affirming medical care, for those for whom it is indicated,

 provides great clinical benefit. In my 30 years of clinical experience treating gender dysphoric

 patients, including 19 years working with adolescents, I have seen the benefits of gender affirming

 medical care on my patients’ health and well-being. I have seen many patients show improvement

 in mental health, as well as in performance in school, in social functioning with peers, and in family

 relationships when they experience relief from gender dysphoria with gender-affirming medical

 care.

         50.    Claims that the risks outweigh the benefits of treatment are without foundation. The

 benefits of treatment, and risks of withholding care, for transgender youth with gender dysphoria

 are clear, as described and referenced above. In addition, a treating doctor will not offer gender-

 affirming medical treatments unless they have concluded after weighing the risks and benefits of

 care that treatment is appropriate. The risks and benefits of care are discussed with the minor’s

 parents, who must consent to treatment, and to the youth, who must assent. This process is no

 different than the informed consent process for other treatments. However, for gender-affirming

 medical care, there may be the additional safeguard of the assessment by a mental health

 professional, who, in addition to diagnosing gender dysphoria, also reviews the risks and benefits

 of treatment with the youth and parents.


                                                  13

 EXPERT DECLARATION OF DR. DAN H. KARASIC, M.D.
Case 1:23-cv-00595-JPH-KMB            Document 26-1         Filed 04/21/23       Page 14 of 45 PageID
                                            #: 156



         51.     Regret among those who are treated with gender-affirming medical care is rare. For

 example, in one study in the Netherlands, none of the youth who received puberty blockers,

 hormones, and surgery, and followed over an 8-year period expressed regret. (DeVries 2014.)

 Zucker et al. (2010), summarizing key studies on regret for adolescents referred for surgery when

 they reached the age of majority in the Netherlands, states, “there was virtually no evidence of

 regret, suggesting that the intervention was effective.” This is consistent with my observations in

 decades of clinical practice.

         52.     Regret rates for gender affirming surgery in adults are also very low. A pooled

 review across multiple studies of 7,928 patients receiving gender affirming surgery showed a

 regret rate of 1%. (Bustos, et al., 2021). Over 50 years of gender affirming surgery in Sweden, the

 regret rate, as measured by legal gender change reversal, was 2%. (Dhejne, et al 2014). These are

 very low regret rates for surgery. For example, 47% of women expressed at least some regret after

 reconstructive breast surgery following mastectomy for breast cancer. (Sheehan et al 2008).

         53.     Many bills like the one passed in Indiana claim that for most youth, gender

 dysphoria will resolve on its own, making medical interventions unnecessary. These claims are

 inaccurate and are often in reference to a body of literature sometimes referred to as “desistance”

 studies, that found that many pre-pubertal children diagnosed with Gender Identity Disorder in

 Children (a precursor diagnosis to Gender Dysphoria in Children in the DMS III-R and DSM-IV)

 identified with their sex assigned at birth at a later follow up. Reliance on this research is misplaced

 for two reasons. First, the diagnostic criteria for Gender Identity Disorder in Children were

 different from the diagnostic criteria for Gender Dysphoria in Children in meaningful ways that

 result in the desistance studies grossly overestimating the rate of desistance. Gender Identity

 Disorder in Children did not require identification with a gender other than the one assigned to the


                                                   14

 EXPERT DECLARATION OF DR. DAN H. KARASIC, M.D.
Case 1:23-cv-00595-JPH-KMB           Document 26-1         Filed 04/21/23      Page 15 of 45 PageID
                                           #: 157



 person at birth. A diagnosis could be made solely on the basis of gender atypical behavior, such as

 a boy who prefers playing with dolls and dress-up. This means that a child could be diagnosed

 with Gender Identity Disorder without ever having a transgender identity and, therefore, any study

 that selected subjects based on this diagnosis could include individuals who never had a gender

 identity that differed from the sex they were assigned at birth. This problem with the diagnosis

 was remedied with the DSM-V diagnosis of “Gender Dysphoria in Children,” which requires a

 child to have “a strong desire to be of the other gender or an insistence that one is the other gender

 (or some alternative gender different from one’s assigned gender).” Under this updated diagnosis,

 a child could not be diagnosed based solely on gender atypical behavior without identifying as a

 different sex than the one assigned at birth. Because the desistance studies were all conducted prior

 to the DSM-V, a child did not need to have a transgender identity to be included in the study.

 Additionally, in some studies, the children did not even meet the looser criteria for Gender Identity

 Disorder, but were entered in the studies based on parents bringing the youth to the gender clinic.

 It is not surprising that many children in these studies did not identify as transgender at follow-up

 as these children were never transgender and never identified with a gender different from their

 assigned sex at birth.

        54.     Second, the desistance studies focused only on pre-pubertal children. Whatever

 conclusions can be drawn from them about the likelihood of persistence of gender dysphoria in

 pre-pubertal children, which again is uncertain given the diagnostic limitations identified above,

 data indicates that once youth reach the beginning of puberty and identify as transgender,

 desistance is rare. (DeVries, et al., 2011, Wiepjies, et al 2018, Brik, et al, 2020). This data is

 consistent with clinical experience. In fact, the Amsterdam and Toronto gender centers that

 published the desistance data on pre-pubertal children referenced above provided medical


                                                  15

 EXPERT DECLARATION OF DR. DAN H. KARASIC, M.D.
Case 1:23-cv-00595-JPH-KMB           Document 26-1         Filed 04/21/23      Page 16 of 45 PageID
                                           #: 158



 interventions to youth whose gender dysphoria persisted into adolescence. (Zucker, et al 2010,

 DeVries, et al 2014). No medical treatments are used prior to adolescence, so the persistence and

 desistance rates of pre-pubertal children do not inform the decision whether or not to initiate gender

 affirming medical treatments in adolescents.

        55.     “Watchful waiting” is an approach that has been described with respect to the care

 of pre-pubertal children with gender dysphoria. This approach involves a stance that is neither

 affirming nor rejecting of a child’s asserted gender, but generally does not support social transition

 in pre-pubertal children. “Watchful waiting” does not apply to adolescents or speak to the

 appropriateness of medical interventions for adolescents with gender dysphoria. Indeed, the Dutch

 researchers who coined the term “watchful waiting” for pre-pubertal patients provide puberty

 blockers, then hormones, when medically indicated during adolescence and have published the

 successful use of this series of treatments. (Ehrensaft, 2017; DeVries, 2014).

        56.     Gender-affirming medical interventions in accordance with the WPATH SOC 8

 and Endocrine Society Guideline are widely recognized in the medical community as safe,

 effective, and medically necessary for many adolescents with gender dysphoria. (See American

 Academy of Pediatrics, 2018; the American Medical Association, 2021; the Endocrine Society,

 2020; the Pediatric Endocrine Society, 2021; the American Psychiatric Association, 2018; the

 American Psychological Association, 2021; the American Congress of Obstetricians and

 Gynecologists, 2021; the American Academy of Family Physicians (2020); and WPATH (2022)).

        E.      Harms of Denying Gender-Affirming Care

        57.     The overarching goal of treatment is to eliminate the distress of gender dysphoria

 by helping align an individual patient’s body and presentation with their gender identity. The

 denial of medically indicated care to patients with gender dysphoria not only results in the


                                                  16

 EXPERT DECLARATION OF DR. DAN H. KARASIC, M.D.
Case 1:23-cv-00595-JPH-KMB           Document 26-1        Filed 04/21/23      Page 17 of 45 PageID
                                           #: 159



 prolonging of their dysphoria, but also causes additional distress and poses other health risks, such

 as depression, posttraumatic stress disorder, and suicidality. In other words, lack of access to

 gender-affirming care directly contributes to poorer mental health outcomes for transgender

 people. (Owen-Smith, et al., 2018).

        58.     For patients for whom gender-affirming medical care is indicated, no alternative

 treatments have been demonstrated to be effective. To the extent one proposed alternative is

 psychotherapeutic treatment to encourage identification with a person’s assigned sex at birth, the

 American Psychological Association has stated that such efforts provide no benefit and instead do

 harm. (APA 2021). Or if an alternative approach is to treat the worsening dysphoria only with

 therapy, that has not shown to be effective in any research.

        59.     I have had patients over the years who were unable to access gender-affirming care

 when it was clinically indicated, including in the years before this care was more widely available,

 as well as minors who could not access care due to lack of parental consent. In many of these

 patients, delayed or denied care resulted in increased depression, anxiety, suicidal ideation and

 self-harm, increased substance use, and a deterioration in school performance. For patients with

 severe distress due to sex characteristics, psychotherapeutic approaches did not alleviate this

 distress absent medical intervention. Some of my patients had years of intensive mental health

 interventions, including long-term psychotherapy, without relief of gender dysphoria until

 receiving medical intervention.

        60.     Accordingly, major medical organizations, such as the American Medical

 Association, American Psychiatric Association, the Endocrine Society, American College of

 Obstetricians and Gynecologists, and American Academy of Family Physicians oppose the denial

 of this medically necessary care and support public and private health insurance coverage for


                                                  17

 EXPERT DECLARATION OF DR. DAN H. KARASIC, M.D.
Case 1:23-cv-00595-JPH-KMB          Document 26-1        Filed 04/21/23    Page 18 of 45 PageID
                                          #: 160



 treatment of gender dysphoria as recommended by the patient’s physician. (American Medical

 Association, 2021; American Psychiatric Association, 2018; Endocrine Society, 2012, American

 Congress of Obstetricians and Gynecologists, 2021; American Academy of Family Physicians,

 2020). Denial of this appropriate care for transgender adolescents is also opposed by medical

 professional organizations responsible for the care of youth, including the American Academy of

 Pediatrics, the Academy of Child and Adolescent Psychiatry, and the Pediatric Endocrine Society.

 (American Academy of Pediatrics, 2018; American Academy of Child and Adolescent Psychiatry,

 2019; The Pediatric Endocrine Society, 2021.)

                                          CONCLUSION

        61.     The ban prohibits widely-accepted, evidence-based medical treatments for gender

 dysphoria in adolescents. Decades of medical research and clinical experience demonstrate that

 these medical treatments are safe, effective, and medically necessary to relieve gender dysphoria

 for many adolescents. The ban prohibits the only treatments demonstrated to be effective for

 adolescents for with gender dysphoria for whom gender-affirming medical care is indicated.

 Consistent with my first-hand clinical experience over decades of practice, denying gender-

 affirming medical care to adolescents for whom it is medically indicated puts them at risk of

 significant harm to their health and well-being.




                                                    18

 EXPERT DECLARATION OF DR. DAN H. KARASIC, M.D.
Case 1:23-cv-00595-JPH-KMB          Document 26-1        Filed 04/21/23      Page 19 of 45 PageID
                                          #: 161



 I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.

 Executed this 17th day of April, 2023.




                                                      Dan H. Karasic, M.D.




                                                19

 EXPERT DECLARATION OF DR. DAN H. KARASIC, M.D.
Case 1:23-cv-00595-JPH-KMB         Document 26-1              Filed 04/21/23      Page 20 of 45 PageID
                                         #: 162




                         University of California, San Francisco
                                  CURRICULUM VITAE
  Name:          Dan H. Karasic, MD

  Position:      Professor Emeritus
                 Psychiatry
                 School of Medicine

                 Voice: 415-935-1511
                 Fax: 888-232-9336




  EDUCATION
  1978 - 1982    Occidental College, Los             A.B.; Summa        Biology
                 Angeles                             Cum Laude

  1982 - 1987    Yale University School of           M.D.               Medicine
                 Medicine
  1987 - 1988    University of California, Los       Intern             Medicine, Psychiatry, and
                 Angeles                                                Neurology
  1988 - 1991    University of California, Los       Resident           Psychiatry
                 Angeles; Neuropsychiatric
                 Institute
  1990 - 1991 University of California, Los          Postdoctoral       Training Program in Mental
              Angeles; Department of                 Fellow             Health Services for Persons
              Sociology                                                 with AIDS
  LICENSES, CERTIFICATION
  1990           Medical Licensure, California, License Number G65105
  1990           Drug Enforcement Administration Registration Number BK1765354
  1993           American Board of Psychiatry and Neurology, Board Certified in Psychiatry

  PRINCIPAL POSITIONS HELD
  1991 - 1993 University of California, San Francisco               Health Sciences Psychiatry
                                                                   Clincial Instructor
  1993 - 1999    University of California, San Francisco            Health Sciences Psychiatry
                                                                   Assistant Clinical Professor




                                                 1 of 20
Case 1:23-cv-00595-JPH-KMB          Document 26-1          Filed 04/21/23     Page 21 of 45 PageID
                                          #: 163

  1999 - 2005     University of California, San Francisco        Health Sciences Psychiatry
                                                                Associate Clinical
                                                                Professor
  2005 - present University of California, San Francisco        Health Sciences Psychiatry Clinical
                                                                Professor

  OTHER POSITIONS HELD CONCURRENTLY
  1980 - 1980 Associated Western Universities / U.S.           Honors        UCLA Medicine
                Department of Energy                           Undergraduate
                                                               Research Fellow
  1981 - 1981 University of California, Los Angeles; Summer Student     UCLA
       Medicine American Heart Association, California    Research Fellow
                 Affiliate
  1986 - 1987     Yale University School of Medicine;      Medical Student           Psychiatry
                  American Heart Association, Connecticut Research Fellow
                  Affiliate
  1990 - 1991 University of California, Los Angeles Postdoctoral Sociology Fellow
  1991 - 2001 SFGH Consultation-Liaison Service; Attending      Psychiatry
                AIDS Care                                Psychiatrist
  1991 - 2001     AIDS Consultation-Liaison Medical            Course Director       Psychiatry
                  Student Elective
  1991 - present UCSF Positive Health Program at San      HIV/AIDS            Psychiatry Francisco
                  General Hospital (Ward 86)       Outpatient
                                                          Psychiatrist
  1991 - present UCSF AHP (AIDS Health Project/Alliance HIV/AIDS                   Psychiatry
                  Health Project)                        Outpatient
                                                         Psychiatrist
  1994 - 2002     St. Mary's Medical Center CARE Unit.      Consultant             Psychiatry
                  The CARE Unit specializes in the care of patients with
                  AIDS dementia.
  2001 - 2010     Depression and Antiretroviral Adherence Clinical Director        Psychiatry and
                  Study (The H.O.M.E. study: Health                                Medicine
                  Outcomes of Mood Enhancement)
  2003 - 2020 Transgender Life Care Program and Psychiatrist   Dimensions Dimensions
                 Clinic, Castro Mission Health   Clinic Center
  2013 - 2020 UCSF Alliance Health Project, Co-lead,           Co-Lead and         Psychiatry
                Transgender Team                               Psychiatrist
  HONORS AND AWARDS
  1981            Phi Beta Kappa Honor Society              Phi Beta Kappa




                                              2 of 20
Case 1:23-cv-00595-JPH-KMB          Document 26-1          Filed 04/21/23    Page 22 of 45 PageID
                                          #: 164

  1990            NIMH Postdoctoral Fellowship in       National Institute of Mental Health Mental
                  Health Services for People with
                  AIDS (1990-1991)
  2001            Lesbian Gay Bisexual Transgender          SFGH Department of Psychiatry
                  Leadership Award, LGBT Task Force
                  of the Cultural Competence and
                  Diversity Program
  2006            Distinguished Fellow                      American Psychiatric Association
  2012            Chancellor’s Award for Leadership in         UCSF
                  LGBT Health

  2023 Alumni Seal Award for             Occidental College Professional
                Achievement




  MEMBERSHIPS
  1992 - present Northern California Psychiatric Society
  1992 - present American Psychiatric Association
  2000 - 2019 Bay Area Gender Associates (an organization of psychotherapists working with
       transgendered clients)
  2001 - present World Professional Association for Transgender Health

  SERVICE TO PROFESSIONAL ORGANIZATIONS
  1981 - 1982     The Occidental                                                News Editor
  1984 - 1985     Yale University School of Medicine                            Class President
  1989 - 1991     Kaposi's Sarcoma Group, AIDS Project Los Angeles             Volunteer
                                                                               Facilitator
  1992 - 1996     Early Career Psychiatrist Committee, Association of Gay Chair and
                  Lesbian Psychiatrists
  1992 - 1996 Board of Directors, Association of Gay and Lesbian Member Psychiatrists
  1993 - 1993 Local Arrangements Committee, Association of Gay and Chair Lesbian
       Psychiatrists
  1994 - 1995 Educational Program, Association of Gay and Lesbian             Director Psychiatrists,
       1995 Annual Meeting
  1994 - 1998     Board of Directors, BAY Positives                             Member
  1994 - present Committee on Lesbian, Gay, Bisexual and Transgender Member
                  Issues, Northern California Psychiatric Society
  1995 - 1997 Board of Directors, Bay Area Young Positives. BAY President



                                              3 of 20
Case 1:23-cv-00595-JPH-KMB        Document 26-1        Filed 04/21/23        Page 23 of 45 PageID
                                        #: 165

                 Positives is the nation's first community-based
                 organization providing psychosocial and recreational
                 services to HIV-positive youth
  1995 - 1997 Executive Committee, Bay Area Young Positives. Chair
  1996 - 2004 Committee on Lesbian, Gay, Bisexual and Transgender            Chair Issues,
       Northern California Psychiatric Society
  1998 - 2002    City of San Francisco Human Rights Commission,              Member Lesbian,
                 Gay Bisexual Transgender Advisory Committee
  2000 - 2004    Association of Gay and Lesbian Psychiatrists.        Vice President Responsible for
                 the organization's educational programs
  2004 - 2005 Association of Gay and Lesbian Psychiatrists            President-elect
  2005 - 2007 Caucus of Lesbian, Gay, and Bisexual Psychiatrists of the Chair American
       Psychiatric Association
  2005 - 2007    Association of Gay and Lesbian Psychiatrists                  President
  2007 - 2009    Association of Gay and Lesbian Psychiatrists                  Immediate Past
                                                                               President
  2009 - 2010 Consensus Committee for Revision of the Sexual and     Member
                Gender Identity Disorders for DSM-V, GID of Adults
                subcommittee. (Wrote WPATH recommendations as
                advisory body to the APA DSM V Committee for the Sexual
                and Gender Identity Disorders chapter revision.)
  2010 - 2011 Scientific Committee, 2011 WPATH Biennial Symposium, Member Atlanta
  2010 -2022 World Professional Association for Transgender Care         Member
                 Standards of Care Workgroup and Committee (writing seventh
                 and eighth revisions of the WPATH Standards of Care, which
                 is used internationally for transgender care.)
  2010 - 2018    ICD 11 Advisory Committee, World Professional Member Association for
                 Transgender Health
  2012 - 2014    Psychiatry and Diagnosis Track Co-chair, Scientific         Member Committee,
                 2014 WPATH Biennial Symposium, Bangkok
  2014 - 2016    Scientific Committee, 2016 WPATH Biennial Symposium, Member Amsterdam
  2014 - 2018    Board of Directors (elected to 4 year term), World          Member Professional
                 Association for Transgender Health
  2014 - 2018    Public Policy Committee, World Professional Association Chair for Transgender
                 Health
  2014 - 2018     WPATH Global Education Initiative: Training providers Trainer and and
                 specialty certification in transgender health    Steering
                                                                           Committee
                                                                           Member




                                             4 of 20
Case 1:23-cv-00595-JPH-KMB         Document 26-1        Filed 04/21/23     Page 24 of 45 PageID
                                         #: 166

  2014 - 2016 American Psychiatric Association Workgroup on Gender Member Dysphoria
  2016 - present American Psychiatric Association Workgroup on Gender Chair Dysphoria
  2016            USPATH: Inaugural WPATH U.S. Conference, Los              Conference Chair
                  Angeles, 2017

  SERVICE TO PROFESSIONAL PUBLICATIONS
  2011 - present Journal of Sexual Medicine, reviewer
  2014 - present International Journal of Transgenderism, reviewer
  2016 - present LGBT Health, reviewer

  INVITED PRESENTATIONS - INTERNATIONAL
  2009            World Professional Association for Transgender Health,    Plenary Session
                  Oslo, Norway                                              Speaker
  2009            World Professional Association for Transgender Health,    Symposium
                  Oslo, Norway                                              Speaker
  2009            Karolinska Institutet, Stockholm Sweden                   Invited Lecturer
  2012            Cuban National Center for Sex Education (CENESEX), Invited Speaker Havana,
                  Cuba
  2013            Swedish Gender Clinics Annual Meeting, Stockholm,        Keynote Speaker
                  Sweden
  2013            Conference on International Issues in Transgender care, Expert Consultant
                  United Nations Development Programme - The Lancet, Beijing, China
  2014            World Professional Association for Transgender Health, Track Chair Bangkok,
                  Thailand
  2014            World Professional Association for Transgender Health, Invited Speaker
                  Bangkok, Thailand
  2014            World Professional Association for Transgender Health, Invited Speaker
                  Bangkok, Thailand
  2015            European Professional Association for Transgender        Invited Speaker Health,
                  Ghent, Belgium
  2015            European Professional Association for Transgender         Symposium Chair
                  Health, Ghent, Belgium
  2015            Israeli Center for Human Sexuality and Gender Identity, Invited Speaker Tel Aviv
  2016            World Professional Association for Transgender Health, Symposium Chair
                  Amsterdam
  2016            World Professional Association for Transgender Health, Invited Speaker
                  Amsterdam
  2016            World Professional Association for Transgender Health, Invited Speaker




                                             5 of 20
Case 1:23-cv-00595-JPH-KMB        Document 26-1      Filed 04/21/23     Page 25 of 45 PageID
                                        #: 167

         Amsterdam       2017
         Brazil Professional
  Association for Transgender
  Health, Sao Paulo
  2017           Vietnam- United Nations Development Programme Asia
                 Transgender Health Conference, Hanoi
  2018           United Nations Development Programme Asia Conference on
                 Transgender Health and Human Rights, Bangkok
  2018           World Professional Association for Transgender Health, Invited Speaker Buenos
                 Aires

  2021            Manitoba Psychiatric Association, Keynote Speaker



  INVITED PRESENTATIONS - NATIONAL
  1990           Being Alive Medical Update, Century Cable Television    Televised Lecturer
  1992 Institute on Hospital and Community Psychiatry, Toronto Symposium Speaker
  1992           Academy of Psychosomatic Medicine Annual Meeting,       Symposium
                 San Diego                                               Speaker
  1994           American Psychiatric Association 150th Annual Meeting, Workshop Chair
                 Philadelphia
  1994           American Psychiatric Association 150th Annual Meeting, Workshop Speaker
                 Philadelphia
  1994           American Psychiatric Association 150th Annual Meeting, Paper Session Co-
                 Philadelphia                                            chair
  1995           Spring Meeting of the Association of Gay and Lesbian   Symposium Chair
                 Psychiatrists, Miami Beach
  1996           American Psychiatric Association 152nd Annual Meeting, Workshop Speaker
                 New York
  1997           American Psychiatric Association Annual Meeting, San Workshop Speaker
                 Diego
  1997           Gay and Lesbian Medical Association Annual      Invited Speaker Symposium
  1998           American Psychiatric Association Annual Meeting,       Workshop Chair
                 Toronto
  1998           American Psychiatric Association Annual Meeting,        Workshop Chair
                 Toronto
  1998           American Psychiatric Association Annual Meeting,        Media Session
                 Toronto                                                 Chair
  1998           American Psychiatric Association Annual Meeting,       Media Session



                                           6 of 20
Case 1:23-cv-00595-JPH-KMB      Document 26-1       Filed 04/21/23    Page 26 of 45 PageID
                                      #: 168

               Toronto                                                 Chair
  1999        American Psychiatric Association Annual Meeting,        Symposium Chair
              Washington, D.C.
  1999         American Psychiatric Association Annual Meeting,        Symposium
               Washington, D.C.                                        Presenter
  1999        American Psychiatric Association Annual Meeting,        Workshop Chair
              Washington, D.C.
  2000        American Psychiatric Association Annual Meeting,        Workshop Chair
              Chicago
  2000        National Youth Leadership Forum On Medicine, Invited Speaker
              University of California, Berkeley
  2001        American Psychiatric Association Annual Meeting, New Workshop Chair
              Orleans
  2001          American Psychiatric Association Annual Meeting, New Media Program
               Orleans                                               Chair
  2001         Association of Gay and Lesbian Psychiatrists   Chair Symposium, New
               Orleans
  2001        Harry Benjamin International Gender Dysphoria Invited Speaker
              Association Biennial Meeting, Galveston, Texas
  2002        American Psychiatric Association Annual Meeting,        Media Program
              Philadelphia                                             Chair
  2002         American Psychiatric Association Annual Meeting,        Workshop Chair
               Philadelphia
  2002        American Psychiatric Association Annual Meeting,        Workshop Chair
              Philadelphia
  2003        Association of Gay and Lesbian Psychiatrists CME        Chair Conference
  2003        American Psychiatric Association Annual Meeting, San     Symposium Chair
              Francisco
  2003         American Psychiatric Association Annual Meeting, San    Symposium Co-
               Francisco                                               Chair
  2003        American Psychiatric Association Annual Meeting, San Workshop Chair
              Francisco
  2003        American Public Health Association Annual Meeting, San Invited Speaker
              Francisco
  2004        Mission Mental Health Clinic Clinical Conference Invited Speaker
  2004         Association of Gay and Lesbian Psychiatrists            Co-Chair
               Conference, New York
  2004        Mental Health Care Provider Education Program: Los      Invited Speaker



                                          7 of 20
Case 1:23-cv-00595-JPH-KMB     Document 26-1        Filed 04/21/23   Page 27 of 45 PageID
                                     #: 169

               Angeles. Sponsored by the American Psychiatric
               Association Office of HIV Psychiatry
  2005        American Psychiatric Association Annual Meeting,       Workshop Speaker
              Atlanta
  2005        Association of Gay and Lesbian Psychiatrists Saturday Invited Speaker
              Symposium
  2008        Society for the Study of Psychiatry and Culture, San   Invited Speaker
              Francisco
  2009        American Psychiatric Association Annual Meeting, San Symposium
              Francisco                                              Speaker
  2011         National Transgender Health Summit, San Francisco      Invited Speaker
  2011         National Transgender Health Summit, San Francisco      Invited Speaker
  2011         American Psychiatric Association Annual Meeting,       Symposium Chair
               Honolulu, HI
  2011         American Psychiatric Association Annual Meeting,       Symposium
               Honolulu, HI                                           Speaker
  2011        World Professional Association for Transgender Health Invited Speaker Biennial
              Conference, Atlanta, GA
  2011        World Professional Association for Transgender Health Invited Speaker Biennial
              Conference, Atlanta, GA




                                         8 of 20
Case 1:23-cv-00595-JPH-KMB     Document 26-1        Filed 04/21/23     Page 28 of 45 PageID
                                     #: 170



                                                                        Invited Speaker

  2011         World Professional Association for Transgender Health
               Biennial Conference, Atlanta, GA
  2011        Institute on Psychiatric Services, San Francisco Invited Speaker
  2012        Gay and Lesbian Medical Association Annual Meeting       Invited Speaker
  2013        National Transgender Health Summit, Oakland, CA          Invited Speaker
  2013         National Transgender Health Summit, Oakland, CA          Invited Speaker
  2013         National Transgender Health Summit, Oakland, CA          Invited Speaker
  2013        American Psychiatric Association Annual Meeting, San Invited Speaker
              Francisco
  2013        Gay and Lesbian Medical Association, Denver, CO          Invited Speaker
  2014        American Psychiatric Association Annual Meeting, New Invited Speaker York
  2014        Institute on Psychiatric Services, San Francisco          Moderator
  2014        Institute on Psychiatric Services, San Francisco          Invited Speaker
  2014        Institute on Psychiatric Services, San Francisco Invited Speaker
  2015        National Transgender Health Summit, Oakland, CA          Invited Speaker
  2015         National Transgender Health Summit, Oakland, CA          Invited Speaker
  2015        American Psychiatric Association Annual Meeting,          Workshop Speaker
              Toronto
  2015        American Psychiatric Association Annual Meeting,         Course Faculty
              Toronto
  2016        American Psychiatric Association Annual Meeting          Course Faculty
  2016        World Professional Association for Transgender Health     Course Faculty
              Global Education Initiative, Atlanta
  2016        World Professional Association for Transgender Health     Course Faculty
              Global Education Initiative, Springfield, MO




  2016        World Professional Association for Transgender Health Course Faculty
              Global Education Initiative, Fort Lauderdale, FL

  2017        World Professional Association for Transgender Health,
              GEI, Los Angeles Course Faculty

              World Professional Association for Transgender Health




                                          9 of 20
Case 1:23-cv-00595-JPH-KMB        Document 26-1        Filed 04/21/23      Page 29 of 45 PageID
                                        #: 171

                Surgeon’s Training, Irvine, CA Course Faculty




  2017        American Urological Association Annual Meeting, San Francisco CA
                                                                    Invited Speaker

  2018        World Professional Association for Transgender Health GEI, Portland OR,
              Course Faculty

  2018        World Professional Association for Transgender Health GEI, Palm Springs,
              Course Faculty

  2019        American Society for Adolescent Psychiatry Annual Meeting, San Francisco,
              Speaker

  2019          American Psychiatric Association Annual Meeting, San Francisco, Session
              Chair

  2020           Psychiatric Congress, Invited Speaker

  2022           World Professional Association for Transgender Health, Montreal, invited
                 speaker

  2023           National Transgender Health Summit, San Francisco, invited speaker

 2023 American Psychiatric Association Annual Meeting, San Francisco, invited          speaker



 INVITED PRESENTATIONS - REGIONAL AND OTHER INVITED PRESENTATIONS
  1990          Advanced Group Therapy Seminar, UCLA               Invited Lecturer
                Neuropsychiatric Institute
  1991          Joint Project of the Southern California AIDS Interfaith   Symposium
                Council and UCLA School of Medicine                          Speaker
  1991          Joint Project of the Southern California AIDS Interfaith   Workshop Panelist
                Council and UCLA School of Medicine
  1992          Advanced Group Therapy Seminar, UCLA               Invited Lecturer
                Neuropsychiatric Institute
  1993          UCSF School of Nursing Invited Lecturer
  1995          UCSF/SFGH Department of Medicine Clinical Care             Invited Speaker
                Conference
  1996          UCSF School of Nursing Invited Speaker
  1996          Psychopharmacology for the Primary Care AIDS/Clinician, Invited Lecturer
                series of four lectures, UCSF Department of Medicine



                                            10 of 20
Case 1:23-cv-00595-JPH-KMB      Document 26-1       Filed 04/21/23    Page 30 of 45 PageID
                                      #: 172



                                                                          Invited Speaker
  1996         UCSF AIDS Health Project Psychotherapy Internship
               Training Program
  1996        UCSF/SFGH Department of Medicine AIDS Quarterly          Invited Speaker
              Update
  1996        San Francisco General Hospital, Division of Addiction    Invited Speaker
              Medicine
  1996        UCSF Langley Porter Psychiatric Hospital and Clinics     Invited Speaker Grand
              Rounds
  1997        UCSF School of Nursing Invited Speaker
  1997         UCSF Department of Medicine AIDS Program                   Invited Speaker
  1997        Northern California Psychiatric Society Annual Meeting, Workshop Speaker
              Monterey
  1997        San Francisco General Hospital Department of Psychiatry Invited Speaker
              Grand Rounds
  1997        San Francisco General Hospital Department of Psychiatry Invited Speaker
              Grand Rounds
  1997        Northern California Psychiatric Society LGBT Committee Chair Fall Symposium
  1997        Progress Foundation, San Francisco        Invited Speaker
  1998        San Francisco General Hospital Department of Psychiatry Invited Speaker
              Grand Rounds
  1999        Northern California Psychiatric Society Annual Meeting, Invited Speaker Santa
              Rosa
  1999        Northern California Psychiatric Society Annual Meeting, Invited Speaker Santa
              Rosa
  1999        University of California, Davis, Department of Psychiatry Invited Speaker Grand
              Rounds
  1999        California Pacific Medical Center Department of Invited Speaker Psychiatry
              Grand Rounds
  1999        San Francisco General Hospital Department of Psychiatry Discussant
              Departmental Case Conference
  2000        Langley Porter Psychiatric Hospital and Clinics   Invited Speaker
              Consultation Liaison Seminar
  2000        San Francisco General Hospital, Psychopharmacology Invited Speaker
              Seminar
  2000        UCSF Transgender Health Conference, Laurel Heights Invited Speaker
              Conference Center




                                         11 of 20
Case 1:23-cv-00595-JPH-KMB     Document 26-1         Filed 04/21/23   Page 31 of 45 PageID
                                     #: 173

  2000         Psychiatry Course for UCSF Second Year Medical           Invited Lecturer
               Students
  2000         Community Consortium Treatment Update Symposium,         Invited Speaker
               California Pacific Medical Center, Davies Campus
  2000        San Francisco General Hospital Department of Psychiatry Invited Speaker
              Grand Rounds
  2001        Psychiatry Course for UCSF Second Year Medical          Invited Lecturer
              Students
  2003         Tom Waddell Health Center Inservice                      Invited Speaker
  2003        San Francisco Veterans Affairs Outpatient Clinic Invited Speaker
  2004        San Francisco General Hospital Psychiatric Emergency Invited Speaker
              Service Clinical Conference
  2004        South of Market Mental Health Clinic, San Francisco     Invited Speaker
  2005        Northern Psychiatric Psychiatric Society Annual Meeting Invited Speaker
  2005        Equality and Parity: A Statewide Action for Transgender Invited Speaker HIV
              Prevention and Care, San Francisco
  2005        San Francisco General Hospital Department of Psychiatry Invited Speaker
              Grand Rounds.
  2006        SFGH/UCSF Department of Psychiatry Grand Rounds Invited Speaker
  2007        UCSF Department of Medicine, HIV/AIDS Grand Rounds, Invited Speaker
              Positive Health Program
  2007        California Pacific Medical Center LGBT Health     Invited Speaker Symposium,
              San Francisco LGBT Community Center
  2007        UCSF CME Conference, Medical Management of              Invited Speaker
              HIV/AIDS, Fairmont Hotel, San Francisco
  2008        UCSF Department of Medicine, Positive Health Program, Invited Speaker
              HIV/AIDS Grand Rounds
  2008        San Francisco General Hospital Psychiatry Grand Rounds Invited Speaker
  2008        UCSF CME Conference, Medical Management of                Invited Speaker
              HIV/AIDS, Fairmont Hotel, San Francisco
  2010        Northern California Psychiatric Society Annual Meeting, Invited Speaker
              Monterey, CA
  2011        Transgender Mental Health Care Across the Life Span, Invited Speaker
              Stanford University
  2011        San Francisco General Hospital Department of Psychiatry Invited Speaker
              Grand Rounds
  2012        UCSF AIDS Health Project           Invited Speaker 2012 San Francisco
              Veterans Affairs Medical Center.


                                        12 of 20
Case 1:23-cv-00595-JPH-KMB         Document 26-1       Filed 04/21/23    Page 32 of 45 PageID
                                         #: 174



                                                                           Invited Speaker
  2013           Association of Family and Conciliation Courts Conference, Invited Speaker Los
                 Angeles, CA
  2014           UCSF Transgender Health elective          Invited Speaker
  2014           UCSF Department of Psychiatry Grand Rounds                  Invited Speaker
  2014           California Pacific Medical Center Department of Invited Speaker Psychaitry
                 Grand Rounds
  2014           UCLA Semel Institute Department of Psychiatry Grand Invited Speaker Rounds
  2015           UCSF Transgender Health elective          Invited Speaker
  2015           Fenway Health Center Boston, MA (webinar)                   Invited Speaker
  2015           Transgender Health Symposium, Palm Springs                  Invited Speaker
  2015           Transgender Health Symposium, Palm Springs                  Co-Chair
  2015           Santa Clara Valley Medical Center Grand Rounds           Invited Speaker
  2016           UCSF School of Medicine Transgender Health elective Invited Speaker
   2016 Langley Porter Psychiatric Institute APC Case Conference Invited Speaker (2 session
                                                                                      series)
  2016           Zuckerberg San Francisco General Department of           Invited Speaker
                 Psychiatry Grand Rounds
  2016           UCSF Mini-Medical School Lectures to the Public             Invited Speaker

 2021             Los Angeles County Department of Mental Health, Invited Speaker




 CONTINUING EDUCATION AND PROFESSIONAL DEVELOPMENT ACTIVITIES
  2005           Northern California Psychiatric Society
  2005           Northern California Psychiatric Society Annual Meeting, Napa
  2005           Association of Gay and Lesbian Psychiatrist Annual Conference
  2006           Annual Meeting, American Psychiatric Association, Atlanta
  2006           Annual Meeting, American Psychiatric Association, Toronto
  2006           Institute on Psychiatric Services, New York
  2007           Association of Gay and Lesbian Psychiatrists Annual Conference
  2007           American Psychiatric Association Annual Meeting, San Diego
  2007           The Medical Management of HIV/AIDS, a UCSF CME Conference
  2008           Society for the Study of Psychiatry and Culture, San Francisco



                                            13 of 20
Case 1:23-cv-00595-JPH-KMB        Document 26-1       Filed 04/21/23    Page 33 of 45 PageID
                                        #: 175

  2009          American Psychiatric Association, San Francisco
  2009          World Professional Association for Transgender Health, Oslo, Norway
  2010          Annual Meeting of the Northern California Psychiatric Society, Monterey, CA
  2011          Transgender Mental Health Care Across the Life Span, Stanford University
  2011          National Transgender Health Summit, San Francisco
  2011          American Psychiatric Association Annual Meeting, Honolulu, HI
  2011          World Professional Association for Transgender Health Biennial Conference,
                Atlanta, GA
  2011          Institute on Psychiatric Services, San Francisco
  2012          Gay and Lesbian Medical Association Annual Meeting, San Francisco
  2013          National Transgender Health Summit, Oakland, CA
  2013          American Psychiatric Association Annual Meeting, San Francisco
  2013          Gay and Lesbian Medical Association, Denver, CO
  2014          American Psychiatric Association Annual Meeting, New York
  2014          Institute on Psychiatric Services, San Francisco
  2015          European Professional Association for Transgender Health, Ghent, Belgium
  2015          National Transgender Health Summit, Oakland
  2015          American Psychiatric Association Annual Meeting, Toronto
  2016          American Psychiatric Association Annual Meeting, Atlanta
  2016          World Professional Association for Transgender Health, Amsterdam


 GOVERNMENT AND OTHER PROFESSIONAL SERVICE
  1998 - 2002   City and County of San Francisco Human Rights Member Commission LGBT
                Advisory Committee




                                           14 of 20
Case 1:23-cv-00595-JPH-KMB         Document 26-1        Filed 04/21/23    Page 34 of 45 PageID
                                         #: 176



  I am the chair of the American Psychiatric Association Workgroup on Gender Dysphoria, which
  developed a CME course fort the 2015 and 2016 APA Annual Meetings, and is now
  embarking on a larger educational mission to train American psychiatrists to better care for
  transgender patients. I have been leading education efforts in transgender health at APA
  meetings since 1998. On the APA Workgroup on Gender Dysphoria, I am a co-author of a
  paper of transgender issues that has been approved by the American Psychiatric Association
  as a resource document and is in press for the American Journal of Psychiatry. I am also the
  sole author of the chapter on transgender care in the American Psychiatric Press’s Clinical
  Manual of Cultural Psychiatry, Second Edition.

  I have been active internationally in transgender health through my work as a member of the
  Board of Directors of the World Professional Association for Transgender Health. I am an
  author of the WPATH Standards of Care, Version 7, and am Chapter Lead for the Mental
  Health Chapter of SOC 8.
  I chaired of the WPATH Public Policy Committee and was a member of the Global Education
  Initiative, which developed a specialty certification program in transgender health. I helped
  plan the 2016 WPATH Amsterdam conference, and was on the scientific committee for the last
  four biennial international conferences. I was on the founding committee of USPATH, the
  national affiliate of WPATH, and I chaired the inaugural USPATH conference, in Los Angeles
  in 2017. As a member of the steering committee of the WPATH Global Educational Initiative, I
  helped train over 2000 health providers in transgender health, and helped develop a board
  certification program and examination in transgender health.

 UNIVERSITY SERVICE UC SYSTEM AND MULTI-CAMPUS SERVICE
  1991 – 2003 HIV/AIDS Task Force Member
  1992 - 1993 HIV Research Group Member
  1992 - 1997     Space Committee                                             Member
  1992 - 2003 Gay, Lesbian and Bisexual Issues Task Force                     Member
  1994 - 1997     SFGH Residency Training Committee                           Member
  1996 - 1997     Domestic Partners Benefits Subcommittee.                    Chair
  1996 - 2000     Chancellor's Advisory Committee on Gay, Lesbian,        Member Bisexual
                  and Transgender Issues.
  1996 - 2003     HIV/AIDS Task Force                                         Co-Chair
  1996 - 2003     Cultural Competence and Diversity Program                   Member
  2009 - present Medical Advisory Board, UCSF Center of Excellence for Member Transgender
       Health
  2010 - 2013 Steering Committee, Child Adolescent Gender Center          Member
  2011 – 2017 Mental Health Track, National Transgender Health Summit Chair




                                             15 of 20
Case 1:23-cv-00595-JPH-KMB         Document 26-1       Filed 04/21/23     Page 35 of 45 PageID
                                         #: 177



 DEPARTMENTAL SERVICE
  1991 - 2003 San Francisco General Hospital, Department of Psychiatry, Member HIV/AIDS
       Task Force
  1992 - 1993 San Francisco General Hospital, Department of Psychiatry, Member HIV
       Research Group
  1992 - 1997    San Francisco General Hospital, Department of Psychiatry, Member Space
                 Committee
  1992 - 2003    San Francisco General Hospital, Department of Psychiatry, Member GLBT
                 Issues Task Force
  1994 - 1997    San Francisco General Hospital, Department of Psychiatry, Member
                 Residency Training Committee
  1996 - 2003     San Francisco General Hospital, Department of Psychiatry, Member Cultural
                 Competence and Diversity Program
  1996 - 2003    San Francisco General Hospital, Department of Psychiatry, Co-Chair
                 HIV/AIDS Task Force
  2012 - 2020 San Francisco Department of Public Health Gender Member Competence
       Trainings Committee
  2013 - 2020 San Francisco Department of Public Health Transgender       Member Health
       Implementation Task Force
  2014 - 2020San Francisco General Hospital, Department of Psychiatry, Member Transgender
       Surgery Planning Workgroup

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  3. Targ EF, Karasic DH, Bystritsky A, Diefenbach PN, Anderson DA, Fawzy FI. Structured
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      and Attitudes Toward Vaginoplasty in Transgender Females Under 18 Years of Age in the
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  18. William Byne, Dan H. Karasic, Eli Coleman, A. Evan Eyler, Jeremy D. Kidd, Heino F.L.
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  M.- B. Bouman, M. L. Bowers, P. J. Brassard, J. Byrne, L. Capitán, C. J. Cargill, J. M.
  Carswell, S. C. Chang, G. Chelvakumar, T. Corneil, K. B. Dalke, G. De Cuypere, E. de Vries,
  M. Den Heijer, A. H. Devor, C. Dhejne, A. D’Marco, E. K. Edmiston, L. Edwards-Leeper, R.
  Ehrbar, D. Ehrensaft, J. Eisfeld, E. Elaut, L. Erickson-Schroth, J. L. Feldman, A. D. Fisher, M.
  M. Garcia, L. Gijs, S. E. Green, B. P. Hall, T. L. D. Hardy, M. S. Irwig, L. A. Jacobs, A. C.
  Janssen, K. Johnson, D. T. Klink, B. P. C. Kreukels, L. E. Kuper, E. J. Kvach, M. A. Malouf, R.
  Massey, T. Mazur, C. McLachlan, S. D. Morrison, S. W. Mosser, P. M. Neira, U. Nygren, J. M.
  Oates, J. Obedin-Maliver, G. Pagkalos, J. Patton, N. Phanuphak, K. Rachlin, T. Reed, G. N.
  Rider, J. Ristori, S. Robbins-Cherry, S. A. Roberts, K. A. Rodriguez-Wallberg, S. M.
  Rosenthal, K. Sabir, J. D. Safer, A. I. Scheim, L. J. Seal, T. J. Sehoole, K. Spencer, C. St.
  Amand, T. D.
  Steensma, J. F. Strang, G. B. Taylor, K. Tilleman, G. G. T’Sjoen, L. N. Vala, N. M. Van Mello,



                                               18 of 20
Case 1:23-cv-00595-JPH-KMB          Document 26-1        Filed 04/21/23     Page 38 of 45 PageID
                                          #: 180



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                                         #: 181



  EXPERT WITNESS AND CONSULTATION ON TRANSGENDER CARE AND RIGHTS


  2008 Consultant, California Department of State Hospitals

  2012 Dugan v. Lake, Logan UT

  2012 XY v. Ontario http://www.canlii.org/en/on/onhrt/doc/2012/2012hrto726/2012hrto726.html
  2014 Cabading v California Baptist University

  2014 CF v. Alberta
        http://www.canlii.org/en/ab/abqb/doc/2014/2014abqb237/2014abqb237.html

  2017 United Nations Development Programme consultant, transgender health care and legal
        rights in the Republic of Vietnam; Hanoi.

 2017- Forsberg v Saskatchewan; Saskatchewan Human Rights v Saskatchewan
 2018 https://canliiconnects.org/en/summaries/54130
        https://canliiconnects.org/en/cases/2018skqb159

  2018 United Nations Development Programme consultant, transgender legal rights in
        Southeast Asia; Bangkok.

  2018 Consultant, California Department of State Hospitals

  2019, 2021 Consultant/Expert, Disability Rights Washington

  2019, 2021 Consultant/Expert, ACLU Washington

  2021 Consultant, California Department of Corrections and Rehabilitation

  2021 Expert, Kadel v. Folwell, 1:19-cv-00272 (M.D.N.C.).

  2021 Expert, Drew Glass v. City of Forest Park - Case No. 1:20-cv-914 (Southern
  District Ohio)

  2021-2022 Expert, Brandt et al v. Rutledge et al. 4:21-cv-00450 (E.D. Ark.)

  2021-2022 Expert, Fain v. Crouch, 3:20-cv-00740 (S.D.W. Va.)

  2022 Expert, C.P. v. Blue Cross Blue Shield of Illinois, No. 3:20-cv-06145-RJB (W.D.
  Wash.)




                                             20 of 20
Case 1:23-cv-00595-JPH-KMB          Document 26-1       Filed 04/21/23     Page 40 of 45 PageID
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                      EXHIBIT B – DAN KARASIC BIBLIOGRAPHY
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